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                     Cap 111 Enterprises LLC, et al. v. Manhattan Beer Distributors, et al., No. 22 Civ. 1408 (CS) (AEK) -
                                                     Plaintiffs' Initial Search Term Report

                   Documents searched: 417,359
                 Total documents with hits: 1,875
         Total documents with hits, including Family: 2,706

                              Term                             Documents with hits    Documents with hits, including Family     Unique hits
“bottle bill*”                                                                  13                                         39                   1
“credit application*”                                                          275                                       453                  263
“Manhattan Beer*”                                                              931                                     1,595                  487
“ten cent*”                                                                       2                                         2                   0
“ten-cent*”                                                                       2                                         2                   0
Deposit* w/20 (cardboard* OR carrier* OR carton* OR bottle*)                   324                                       465                  256
Manhattanbeer*                                                                 700                                     1,080                  291
MBeer*                                                                          16                                         19                   5
Refund* w/20 (cardboard* OR carrier* OR carton* OR bottle*)                    137                                       219                   91
